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SE-TTLEMENT AGREEMBNT AND RELEASE

This Settlernent Agreernent and Release (“Agreenient”) is made and entered into by and
between K.evin Hardie (referred to herein as “Plaintift"’) and Chandier Telecom, LLC, JCB
Developrnent, LLC, Reuben Chandler, and Bobbie Lee Chandler (collectively referred to herein
as “Dei`endants")(Piaintiff and Defendants are referred to collectively herein as the “parties”).

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\VHEREAS, Plaintit`f and Defendants are currently involved in a civil dispute based upon
and arising out of Plaintifi"s former employment with Det`endants, as set forth in Case No. 5:15»»
cv»OGZ'M-CAR in the United States District Court for the l\/liddle District of Georgia, Macon
Division (the "'Civi_l Action”);

WH`EREAS, Defendants deny all claims asserted against them in the Civil Action;

WHEREAS, Plaintit`f and Defendants desire to resolve all matters between the parties and
aliL matters arising out of Plaintiff"s claims in the Civil Action;

WHEREAS, Plaintiff and Det`endants have agreed to settle comprised claims, and
Plaintift" s attorneys fees were agreed upon separately and without regard to the amount to be paid
to the Plaintiff; and

NOW THEREFORE, in full consideration of the mutual promises, covenants, and
undertakings hereinafter set forth, the receipt and sufficiency of which are hereby acknowledged,
Piaintiff and Defendants agree to settle and resolve their dispute as follows

asMas;_

l. Court Aggroval. Within five (5) business days after receiving this Agreeinent signed by
Plaintif'f, Defendants shall return to Plaintiff a fully executed copy of the Agreeni.ent, and the
parties wili promptly thereafter execute and file with the Court a .loint Motion for Approval of
Settleinent Agreernent (“.loint l\/lotion") with a proposed Order granting the same The parties
agree that they will mutually make every reasonable effort to obtain the Court’s approval of this
Agreenient and the Joint l\/lotion. ln the event the Court approves this Agreement, Plaintiff, if
necessary, will tile a Stipulation of I)ismissal with Prejudice within five (5) business days of the
Coart’s approval of this Agreement.

2. Consideration. ln exchange §or the promises set forth in this Agreement, Det`endants shall
pay Plaintiff and his attorneys the totai gross amount of TWENTY SEVEN THOUSAND, FWE
HUNDRED Dollars ($2?,500) (the “Settlernent Payment”). Specitically, Defendants shail pay
Kevin Hardie SEVENTEEN THOUSAND TWO HUNDRED N`INETY EIGH”{` Dollars
($17,298), and l)efendants shall pay TEN THOUSAND TWO HUNDRED TWO Dollars
($30,202) for Plaintiff"s attorneys’ fees and expenses The Settlement Payment shall be paid in
one installment via checks made payable as follows:

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A. SEVENTEEN THOUSAND TWO HUNDRED NINETY ElGHT l)ollars
($i'/,ZQS) to Kevin Hardie, one half of which is for unpaid wages and one half is for liquidated
damages

B. TEN THOUSAND TWO HUNDRED TWO Dollars ($lG,ZGZ) to l\/litchell D.
Benjamin for the payment of Plaintift"s attorneys’ fees, costs, and expenses

F. Defendants shall deliver the payments so that they are actually received by attorney
Mitchell D. Benj amin within five (5) business days of the Court’s approval of this Agreement.

3. Tax Liabilig. Defendants Chandler 'l`elecom, LLC and JCB Development, LLC
(collectively the “Business Entities”) are no longer in business The individual Det`endants Reuben
Chandler and Bobbie Lee Chandier agree to make the settlement payments, but are not authorized
by the lRS to withhold taxes on the portion of the settlement representing unpaid wages arising
from Plaint.ift’s employment with the Business Errtities. Theret"ore, Plaintit`f acknowledges that no
withholding will be made from the settiement proceeds, and Plaintifi` has been advised to seek
advice from professional advisors regarding tax treatment of this settlement and proper reporting
to the lRS. Plaintiff acknowledges and agrees that he shall be solely responsible for any and all
tax liability in connection with the Settlement Payment to him.

4. Piaigtiff’s Release and Waiver of Claims. Subject to timely receipt of the Settlernent
Payment, Plaintifi` agrees for himself and ali his heirs, executors, administrators successors and
assigns to foi'ever"release and discharge the Defendants front any and all claims and all other d.ebts,
promises, agreements, demands, causes oi` action, attorneys’ fees, costs, losses and expenses of
every nature whatsoever, known or unknown, suspected or unsuspected, filed or untiled, arising
prior to the Eflective Date of this Agreernent, pertaining to the issues raised in Plaintiil"s
Coinpl.aint. This release includes all claims arising under the F air labor Standards Act (“FLSA"’)
or under any other federal, state, or local statute, ordinance, regulation, policy (statutory or
common~law), or legal or equitable theory related to wage and hour claims

5. Defendants’ Release and Waiver of Claims. Upon the Court’s entry of an Order
approving this Agreement, Defendants forever release and discharge Plaintiff and his agents,
attorneys, successors and assigns, heirs, executors, and administrators7 from any and all claims and
all other debts, promises, agreements, dernands, causes of action, attorneys1 fees, losses and
expenses of every nature whatsoever, known or unknown, suspected or unsuspected, filed or
untiled, arising prior to the Effective Date of this Agreement.

6. Release Exclusions. This Agreement and the mutual releases contained herein shall not
apply to rights or claims that may arise after the Effective Date of this Agreement; nor shall any
provision of this Agreement be interpreted to waive, release, or extinguish any rights that, by
express and unequivocal terms of law, may not under any circumstances be waived, released or
extinguished This Agreement does not prevent Plaintiff from filing a complaint with or
cooperating with a government agency in any investigation or proceeding, although should he do
so, he agrees that he will not receive, and will forego, any recovery that may otherwise be
recoverable by or payable to him. This Agreement does not act as a waiver of the parties’ rights
to enforce this Agreement.

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7. Afiirmations. Plairitiff represents and affirms as a material term of this Agreernent that
he has been paid and/or received ali leave (paid or unpaid)j bonuses, commissionsj and/or benefits
to which Plaintiff may be entitled and that no other leave (paid or unpaid), compensation wages,
bonuses, commissions and/or benefits are due, except as provided for in this Agreement. Plaintiff
represents and affirms that ali issues raised in PlaintifPs Complai.nt regarding compensation and
wages are being resolved and compromised as provided for in this Agreement.

8. Adea uate Consideration. 'i`he parties acknowledge that the consideration provided herein
is adequate and that this Agreement is a legally binding document with which all parties will
faithfully comply

9. Binding Nature. 'fhis Agreement, and all the terms and provisions contained herein shall
bind the heirs, personal representatives successors and assigns of each party, and inure to the
benefit of each party, its heirs, agents, directors, officers, employees, servants, successors, and
assigns

10. Construction. This Agreement shall not be construed in favor of one party or against the
other

11. Partiai Invalidi§y. Should any portion, word, clause, phrase, sentence or paragraph of this
Agreement be declared void or unenforceable9 such portion shall be considered independent and
severable from the remainder, the validity of which shall remain unaffected

12. Coinnliance with Tertns. The failure to insist upon compliance with any teirn, covenant
or condition contained in the Agreeinent shall not be deemed a waiver of that term, covenant or
condition, nor shall any waiver or relinquishment of any right or power contained in this
Agreement at any one time or more times be deemed a waiver or relinquishment of any right or
power at any other time or times

13. Governing Law z_tnd Jurisdiction. ”i`his Agreernent shall be interpreted under the laws of
the State of Georgia, both as to interpretation and performance

14. Section Headings. The section and paragraph headings contained in this Agreement are
for reference purposes only and shall not affect in any way the meaning or interpretation of this
Agreement.

15. Counterparts. This Agreeinent may be executed in counterparts, each of which shall be
deemed an original, all of which together shall constitute one and the same instrument The parties
agree that signed facsiiniles and .pdf copies have the same force and effect as originals

16. No Admission. lt is understood and agreed hy the parties that this Agreement represents
a compromise and settlement for various matters and that the promises, payments, and
consideration set forth in this Agreement shall not be construed to he an admission of any liability
or obligation by either party to the other party or any other person

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17. Effective Date. This Agreernent shall be effective and enforceable upon execution by
Plaintift` and approval by the Court.

lS. lime is of the Essence. Tirne is of the essence as to every provision of this Agreeinent.

19. Entire Agreement. This Agreenient and any attachments hereto embody the entire
agreement of ali the parties hereto who have executed it and supersedes any and all other
agreements understandings negotiations or discussions, either oral or in writingj express or
implied, between the parties to this Agreeinent related to the subject matter herein 'l`he parties to
this Agreetnent each acknowledge that no representationss inducements, promises, agreements or
warranties, oral or otherwise, have been made by them, or anyone acting on their behalf, which
are not embodied in this Agreernent; that they have not executed this Agreeinent in reliance on
any representation induceinent, promise, agreement warranty, fact or circumstancesj not
expressly set forth in this Agreenient; and that no representation, inducement, promise, agreement
or warranty not contained in this Agreernent, iricludin§_;,7 but not limited to, any other purported
settlements2 rnoditications, waivers or terminations of this Agreement, shall be valid or bindingj
unless executed in writing by all ot` the parties to this Agreenient.

2(}, Knowledge and Uiiderstandiug. The parties each acknowledge and agree that each has
had sufficient time to review this Agreenient, that each has conferred with counsel regarding this
Agreerrient, and that each has received all information lie/it requires from the other in order to
knowingly execute this Agreernent. The parties acknowledge that each party has participated in
the dr aiting of this Agreernent and that each has had equal opportunity to participate in the dr airing
of this Agreement.

IN WITNESS WHEREOF, the parties hereto have hereunto set their hands and respective `
seals, this the day and year below written

Plaintifi /%\/
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